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              IN THE UNITED STATES DISTRICT COURT FOR
                 THE SOUTHERN DISTRICT OF GEORGIA
                                                     I        _j   --   ill -
                         SAVA1]NAH DIVISION

UNITED STATES OF AMERICA          )                                             -


                                        CASE NO. CR495-123
TRAVIS BARDEL CLARK, et al.,

     Defendants.



                            ORDER

     Before the Court are Defendant Kenneth Ramon Sander's

Motion for Reconsideration of the Court's Order Granting in

Part Defendant's Motion to Reduce Sentence (Doc. 1054), and

Motion to Proceed In Forma Pauperis (Doc. 1056). For the

following reasons, Defendant's Motion for Reconsideration

is DENIED and Defendant's Motion to Proceed In Forma

Pauperis is GRANTED.

     On July 31, 2008, Defendant filed a Notice of Appeal

from this Court's Order Granting in Part Defendant's Motion

to Reduce Sentence. (Doc. 1051.) On August 7, 2008,

Defendant filed his Motion for Reconsideration. However,

due to the earlier Notice of Appeal, this Court lacks

jurisdiction to hear Defendant's Motion for

Reconsideration. United States v. Tovar-Rico, 61 F.3d

1529, 1532 (11th Cir. 1995) (quoting Griggs v. Provident

Consumer Disc. Co., 459 U.S. 56, 58 (1982) (per curiam))
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("'The filing of a notice of appeal is an event of

jurisdictional significance—it confers jurisdiction on the

court of appeals and divests the district court of its

control over the aspects of the case involved in the

appeal.'"). As a result, Defendant's Motion for

Reconsideration must be DENIED)

       Defendant has filed a Motion to Proceed In Forma

Pauperis on Appeal. Pursuant to Federal Rule of Appellate

Procedure 24 (a) (3)

       A party who was permitted to proceed in forma
       pauperis in the district-court action, or who was
       determined to be financially unable to obtain an
       adequate defense in a criminal case, may proceed
       on appeal in forma pauperis without further
       authorization, unless . * . the district court -
       before or after the notice of appeal is filed
       certifies that the appeal is not taken in good

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  Even if the Court did have jurisdiction to rule on
Defendant's Motion, the Court finds no reason to disturb
its prior order. To the extent Defendant argues that he is
entitled to a reduction in his sentence because the Georgia
Supreme Court overturned two state convictions used to
calculate his guideline sentence, this Court again informs
Defendant that a motion under 18 U.S.C. § 3582 is not the
proper method for seeking a reduced sentence based on
overturned state convictions. If Defendant wishes this
Court to recalculate his sentence due to the Georgia
Supreme Court vacating two of his state convictions, he
must first file the "Application for Leave to File a Second
or Successive Habeas Corpus Petition" with the Eleventh
Circuit Court of Appeals, using the form provided by the
Eleventh Circuit Clerk of Court. After receiving
permission from the Eleventh Circuit, Defendant may then
submit a § 2255 petition to this Court. Until Defendant
follows these procedures, this Court lacks jurisdiction to
rule on any § 2255 petition from Defendant.


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     faith or finds that the party is not otherwise
     entitled to proceed in forma pauperis .

     In the instant action, the Court previously determined

that Defendant was financially unable to obtain an adequate

defense.    (Doc. 518.)     Furthermore, the Court finds that

Defendant's appeal is not taken in bad faith. Therefore,

Defendant is entitled to proceed in forma pauperis on

appeal.

     Accordingly, the Court DENIES Defendant's Motion for

Reconsideration and GRANTS Defendant's Motion to Proceed In

Forma Pauperis.

     SO ORDERED this J        day of October, 2008.




                                 MOORE , JR ., IEF JUDGE
                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA




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